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     Attorneys for Defendants
 9
                            IN THE UNITED STATES DISTRICT COURT
10
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
11

12
     LETRINH HOANG, D.O., PHYSICIANS                         Case No. 2:22-cv-02147-WBS-AC
13   FOR INFORMED CONSENT, a not-for-
     profit organization, and CHILDREN’S                     DECLARATION OF ANGELA
14   HEALTH DEFENSE, CALIFORNIA                              LIM, D.O. IN SUPPORT OF
     CHAPTER, a California Nonprofit                         DEFENDANTS’ OPPOSITION TO
15   Corporation,                                            PLAINTIFFS’ MOTION FOR
                                                             PRELIMINARY INJUNCTION
16                                         Plaintiffs,
                                                             Judge:        Honorable William B. Shubb
                   v.
17                                                           Action Filed: December 1, 2022

18   ROB BONTA, in his official capacity as
     Attorney General of California and, ERIKA
19   CALDERON, in her official capacity as
     Executive Officer of the Osteopathic
20   Medical Board of California (“OMBC”),

21                                       Defendants.

22
          I Angela Lim, D.O., declare:
23
          1.    I am a licensed California physician specializing in Osteopathic Manipulative
24
     Medicine and Family Medicine. I received my medical degree from the Michigan State
25
     University College of Osteopathic Medicine in 2006 and completed a dual internship and
26
     residency in Family Medicine and Neuromusculoskeletal Medicine in 2010. I was issued my
27
     Osteopathic Physician’s and Surgeon’s Certificate by the Osteopathic Medical Board of
28
                                                         1
                                                     Declaration of Angela Lim, D.O. (2:22-cv-02147-WBS-AC)
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 1   California (Board) in 2010. I have been board certified by the American Osteopathic Board of

 2   Neuromusculoskeletal and Osteopathic Manipulative Medicine since 2012. I have also been

 3   board certified by the American Osteopathic Board of Family Medicine since 2010. I have

 4   reviewed cases of professional misconduct for the Board since November 2020, and I have served

 5   as the acting consultant for the Board since November 2020. A true and correct copy of my

 6   Curriculum Vitae is attached to this Declaration as Exhibit 1.

 7         2.    Based on my education, training, and experience, I am very familiar with the laws

 8   and professional standards of medicine in California. California’s medical licensing system holds

 9   licensees to the standard of care with respect to their care and treatment of patients. Practicing

10   physicians know and understand what is meant by the phrase “standard of care,” which is

11   designed, in part, to protect patients from the risk of harm.

12         3.    A physician treating a patient for a particular condition is expected to know what the

13   current standard of care requires for that condition and any treatment offered or provided for it.

14   The standard of care is continually evolving as new research and studies are published, and some

15   fields of medicine change at a much faster pace than others. Physicians have a professional

16   responsibility to complete continuing medical education to keep current with the evolving

17   standards of care. There are a wide variety of resources devoted to providing physicians with

18   updates on the evolving standard of care for the fields in which they practice. These include

19   bulletins and guidelines issued by medical practice associations and the Board, as well as

20   published periodicals and online evidence-based clinical subscription services, such as the often-
21   cited “UpToDate.” While the standard of care evolves, and often quickly, a physician is

22   responsible for applying the current standard of care in their community. It is a violation of the

23   standard of care to provide medical advice or treatment that is not yet proven or established based

24   on personal beliefs or opinions about what may become the standard of care in the future. A

25   medical practitioner is negligent if they fail to meet the current standard of care in the care and

26   treatment of patients.
27         4.    “Negligence” is defined as a “simple departure” from the current standard of care.

28   “Gross negligence” is defined as an extreme departure from the standard of care.
                                                    2
                                                      Declaration of Angela Lim, D.O. (2:22-cv-02147-WBS-AC)
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 1            5.    A physician whose conduct falls below the standard of care can be subject to liability

 2   for civil malpractice and/or disciplinary proceedings before the Board under various statutes for

 3   unprofessional conduct, including, but not limited to, gross and repeated negligence, and

 4   incompetence.

 5            6.    Physicians have a duty to provide complete and accurate information to their patients

 6   so that they can make informed decisions about their healthcare. Truthful and open

 7   communication with patients is a central tenant of the medical standard of care. The information

 8   and recommendations provided by an osteopathic physician are relied on by patients to make

 9   well-considered decisions about care. Misinformation provided by a physician during medical

10   care and treatment presents a danger of harm to a patient, because it can lead the patient to decline

11   or be unaware of beneficial care and treatment, or to seek treatments that provide no benefit.

12   Because COVID-19 is a potentially fatal disease, and effective preventative measures and

13   therapeutic treatments exist, the risks posed by misinformation in that context are particularly

14   acute.

15            I declare under penalty of perjury that the foregoing is true and correct.

16            Executed this __ day of December, 2022, at Sacramento, California.

17
                                                                              12/20/2022
                                                         ____________________________________
18                                                       ANGELA LIM, D.O.
19                                                       Declarant

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                                                          3
                                                         Declaration of Angela Lim, D.O. (2:22-cv-02147-WBS-AC)
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                            Exhibit 1
               Angela Lim, D.O. Curriculum Vitae
                                 Angela Lim DO
         Case 2:22-cv-02147-WBS-AC Document 16-2 Filed 12/27/22 Page 5 of 7

                                    1535 River Park Drive, Suite 2000
                                        Sacramento, CA 95815

                                        DrAngela06@gmail.com
                                       Cell phone: (734) 377-1749
Education
         Residency: Family Medicine/Neuromusculoskeletal Medicine
         7/2007 – 6/2010     Metro Health Hospital                           Grand Rapids, MI

         Internship
         7/2006 – 6/2007         Metro Health Hospital                       Grand Rapids, MI

         Doctor of Osteopathic Medicine
         8/2002 – 5/2006       Michigan State University College of           East Lansing, MI
                               Osteopathic Medicine (MSUCOM)

         Bachelor of Biomedical Sciences
         1997 – 2001          Western Michigan University (WMU)                Kalamazoo, MI

Work Experience
             9/2021 – present UC Davis Department of Integrative               Sacramento, CA
                              Medicine, Associate Physician Part Time
                                 ★ OMM only
             1/2021 – 5/2022 OMM Department Adjunct Faculty                          Vallejo, CA
                              Touro University College of Osteopathic
                              Medicine
                                 ★ On Campus teaching 1st and 2nd
                                     year medical students OMM skills
            11/2020 – present Medical Consultant/Expert Reviewer OMBC          Sacramento, CA
            9/2010 – 10/2020 NorthBay Healthcare                                 Vacaville, CA
                                 ★ NMM/OMM physician
             5/2001 – 6/2002 Ypsilanti Family Practice,                             Ypsilanti, MI
                              University of Michigan Health System
                                 ★ Medical Assistant

Medical License and Certifications
                       9/2021  Fascial Distortion Model Certified Instructor
                       3/2018  Fascial Distortion Model International Certificate
             7/2010 – present  Osteopathic Medical Board of California
              1/2012 (current) AOBNMM Board Certified Neuromusculoskeletal
                               Medicine/Osteopathic Manipulative Medicine
             11/2010 (current) AOBFP Board Certified Family Medicine
               2010 – present DEA available upon request

Teaching Experience
            12/2017 – Present FDM Academy
                                 ★ Table train and lecture on Fascial Distortion Model
                                 ★ Full list of modules taught available upon request
             5/2011 – 10/2020 Adjunct Faculty Touro University College of Osteopathic Medicine
                                 ★ Teaching 3rd and 4th year medical students on rotation
                                 ★ OMM lecture series throughout the academic year
         Case 2:22-cv-02147-WBS-AC Document 16-2 Filed 12/27/22 Page 6 of 7
                  May 2019      NorthBay TBI & Concussion Symposium, expert panelist
                 March 2019     SAAO Convocation FDM lecture & workshops
                  May 2018      NorthBay Spine Symposium, expert panelist
                     9/2018     Lecture & Workshop 29th Annual Fall Conference for Osteopathic
                                Physicians and Surgeons of California (OPSC)
                                    ★ The Fascial Distortion Model: A Different Approach to
                                        Fascia
                      2/2016    Lecture & Workshop 55th Annual Convention for OPSC
                                    ★ Your Healing Hands: OMM to Benefit the Pregnant Woman
                                        and Newborn
                      7/2011    Public lecture for NorthBay Women’s Day
                                    ★ A Healing Touch
                      4/2011    Public lecture for NorthBay lecture series
                                    ★ Hands On Care for Sports Injuries
                 2006 – 2010    Teaching medical students and other residents OMM skills through
                                lectures, workshops, and one on one

Leadership
             3/2022 - Present   American Academy of Osteopathy Board of Governors
             3/2021 – Present   AFDMA President
                       2/2020   Expert Reviewer Training Medical Board of California
              2/2020 – 3/2020   Medical Advisory Board Member - HealthSpring Fitness
              3/2019 – 3/2021   AFDMA President Elect
                 2018 – 2019    AFDMA Director at Large
                 2018 – 2020    Peer Review Committee, NorthBay Healthcare
                 2016 – 2020    Quality Committee, NorthBay Healthcare
              6/2009 – 6/2010   Family Medicine/NMM Chief Resident
              7/2003 – 7/2004   MSUCOM Student Council Secretary
              7/2003 – 7/2004   American Holistic Medical Association Co-President

Volunteering
                2009 – 2010 Established and staffed OMM Teaching Clinic for students
                             and residents
                 10/18/2009 Medical Staff Volunteer Grand Rapids Marathon
                  9/12/2009 Medical Staff Volunteer Reed’s Lake Triathlon
                  7/25/2009 Medical Staff Volunteer Tri Del Sol (Triathlon)
                  6/27/2009 Medical Staff Volunteer Reed’s Lake Run
                   9/6/2008 Medical Staff Volunteer Reed’s Lake Triathlon
                  6/28/2008 Medical Staff Volunteer Reed’s Lake Run
                 10/28/2007 Medical Staff Volunteer Grand Rapids Marathon
                   9/8/2007 Medical Staff Volunteer Reed’s Lake Triathlon
                2003 – 2004 OMM Student Clinic
                2003 – 2004 PATCH Program: Helping to teach grade-schoolers the
                             value of a balanced diet and exercise
                     4/15/04 D.O. Day on the Hill
                     2/18/04 Legislative Health Fair: Performed health screens for
                             Michigan legislators and other Capitol Building workers
                    11/2003 Volunteer to teach and assist 6th graders dissecting hearts
                   Fall 2003 MSUCOM Anatomy Tutor
               Summer 2003 Friendship Clinic: Medical volunteer for low income patients
               Summer 2003 Cristo Rey Migrant Clinic: Medical volunteer for mobile
                             clinic serving migrant workers
        Case Summer  2003 OsteoChamps:
             2:22-cv-02147-WBS-AC      Mentor and
                                   Document       roleFiled
                                               16-2    model for high school
                                                            12/27/22   Page 7 of 7
                          students interested in the medical field
             Summer 2003 AOA Accreditation Site Visit to MSUCOM: Represented
                          MSUCOM student body to the AOA accreditation
                          committee
                July 2003 Heads Up for Safety: Fitting and distributing helmets to
                          children and teaching the importance of helmet use

Professional Memberships
             American Fascial Distortion Model Association (AFDMA)
             American Academy of Osteopathy (AAO)
             American College of Osteopathic Family Physicians (ACOFP)
             American Osteopathic Association (AOA)
